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 BRIAN M. ROTHSCHILD (15316)                     Hearing Date: August 14, 2024, 9:30 a.m.
 ALEX N. VANDIVER (17700)
 PARSONS BEHLE & LATIMER                         Objection Deadline: July 25, 2024
 201 South Main Street, Suite 1800
 Salt Lake City, UT 84111
 Telephone: (801) 532-1234
 Facsimile: (801) 536-6111
 brothschild@parsonsbehle.com
 avandiver@parsonsbehle.com
 ecf@parsonsbehle.com

 Attorneys for Creditor Glass America
 Midwest LLC


                    IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF UTAH

In re:
                                                  NOTICE OF HEARING ON GLASS
Corbin William Archer                             AMERICA MIDWEST, LLC’S MOTION
Lisa Ann Collet Archer                            TO DISMISS AND REQUEST TO BAR
                                                  FILING FOR 180 DAYS
         Debtors
                                                  Case No. 24-bk-21689-JTM

                                                  Judge Joel T. Marker

         PLEASE TAKE NOTICE that the Honorable Joel T. Marker has set a hearing on the

Motion to Dismiss and Request to Bar Filing for 180 Days (the “Motion”) (ECF 26) filed by Glass

America Midwest LLC (“Glass America”), creditor of the above-captioned Debtors, Corbin

William Archer and Lisa Ann Collet Archer (the “Debtors”) pursuant to sections 105 and 1307(c)

of title 11 of the United States Code (the “Bankruptcy Code” or “Code”) to dismiss the chapter 13

case of the Debtors for cause including bad faith, failure to comply with disclosure and noticing

requirements, and ineligibility under section § 109(e) of the Bankruptcy Code. The Court has set




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a hearing for August 14, 2024, at 9:30 a.m., (Prevailing Utah Time) (the “Hearing”) in the United

States Bankruptcy Court via using the following video conference information:

                 Cases before Judge Marker:
                 https://www.zoomgov.com/j/16154788875
                 Meeting ID: 161 5478 8875
                 Passcode/Participant ID: 3834658
                 CALL NOW or +1 669 254 52582

Summary of Relief Requested. At the Hearing, the Court will consider relief requested in the

Motion including dismissal of the Debtors’ bankruptcy case, with prejudice and a 180-day bar to

refiling for cause, all as set forth in more detail in the Motion.

        A copy of the Motion and all other pleadings in this chapter 7 case can be obtained through

the Bankruptcy Court’s Public Access to Court’s Electronic Records (PACER) system, available

at http://www.utb.uscourts.gov.

                             YOUR RIGHTS MAY BE AFFECTED.

        IF YOU OBJECT TO THE RELIEF REQUESTED IN THE MOTION, YOU MUST,

(1) NO LATER THAN JULY 25, 2024, FILE YOUR OBJECTION WITH THE

BANKRUPTCY COURT AND SERVE IT ON THE UNDERSIGNED, THE UNITED

STATES TRUSTEE, AND ANY PARTY WHO HAS FILED A REQUEST FOR NOTICE

IN THIS CASE; AND (3) ATTEND THE HEARING SCHEDULED FOR AUGUST 14, 2024

AT 9:30 A.M., (PREVAILING UTAH TIME) AT THE ABOVE VIDEO CONFERENCE LINE.

        IF YOU FAIL TO OBJECT, THE BANKRUPTCY COURT MAY GRANT THE RELIEF

REQUESTED IN THE MOTION WITHOUT HEARING YOUR OBJECTION.




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        DATED this 8th day of July, 2024.

                                            PARSONS BEHLE & LATIMER

                                            /s/ Brian M. Rothschild
                                            Brian M. Rothschild
                                            Alex N. Vandiver
                                            Attorneys for Plaintiff Glass America Midwest LLC




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 8th day of July, 2024, a true and correct copy of the foregoing,

NOTICE OF HEARING ON GLASS OF AMERICA MIDWEST LLC’S MOTION TO

DISMISS AND REQUEST TO BAR FILING FOR 180 DAYS, to be served as follows:

(1) by filing on the Courts’ docket, which sent notice by electronic mail to the following:

           Jesse A.P. Baker ecfutb@aldridgepite.com; jbaker@aldridgepite.com
           Lon Jenkins tr ecfmail@ch13ut.org; lneebling@ch13ut.org
           Janci M. Lawes jlawes@aldridgepite.com,; janci@jltlawut.com;
            jlawes4@gmail.com; ecfutb@aldridgepite.com; r47629@notify.bestcase.com
           Steven M. Rogers srogers@roruss.com; nrussell@roruss.com;
            rorusslaw@gmail.com; paralegal@roruss.com; r47264@notify.bestcase.com;
            bwhiting@roruss.com
           United States Trustee USTPRegion19.SK.ECF@usdoj.gov
           Aaron M. Waite aaronmwaite@agutah.gov


(2) by mail to the Debtor’s mailing matrix attached hereto and to the following:

        (No Manual Recipients)


                                                   /s/ Brian M. Rothschild




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Label Matrix for local noticing                Aldridge Pite, LLP
                                                    Document            Page 5 of 6          American Express
1088-2                                         374 East 720 South                          200 Vesey Street
Case 24-21689                                  Orem, UT 84058-6342                         New York, NY 10285-3106
District of Utah
Salt Lake City
Mon Jul 8 14:55:24 MDT 2024
American Express National Bank                 Corbin William Archer                       Lisa Ann Collet Archer
c/o Becket and Lee LLP                         3861 E Evelyn Drive                         3861 E Evelyn Drive
PO Box 3001                                    Salt Lake City, UT 84124-2307               Salt Lake City, UT 84124-2307
Malvern PA 19355-0701


Jesse A.P. Baker                               Boost Finance                               Boost Finance
Aldridge Pite, LLP                             5940 Summerhill Rd.                         C/O Weinstein & Riley, P.S.
3333 Camino del Rio South                      Texarkana, TX 75503-1639                    1415 WESTERN AVE, SUITE 700
Ste 225                                                                                    SEATTLE, WA 98101-2051
San Diego, CA 92108-3808

Cash Central                                   CashNet USA                                 Chrysler Capital
P.O. Box 30192 Salt Lake City,                 P.O. Box 06230                              1601 Elm Street #800
UT 84130-0192                                  Chicago, IL 60680-6208                      Dallas, TX 75201-7260



Easy Cash ASAP, LLC                            Glass Mechanix Solutions, Inc.              Glass Mechanix Solutions, Inc.
PO Box 11443                                   Attn: Mark C. Rose                          c/o Mark C. Rose
Overland Park, KS 66207-1443                   2180 South 1300 East, Suite 400             2180 South 1300 East, Suite 00
                                               Salt Lake City, UT 84106-7814               Salt Lake City, Utah 84106-2813


Home Depot Credit Services                     IRS                                         Lon Jenkins tr
P.O. Box 790340                                Centralized Insolvency Unit                 Ch. 13 Trustee’s Office
Saint Louis, MO 63179-0340                     PO Box 7346                                 465 South 400 East
                                               Philadelphia, PA 19101-7346                 Suite 200
                                                                                           Salt Lake City, UT 84111-3345

KC Credit                                      Janci M. Lawes                              Midland Credit Management, Inc.
2016 Swift St                                  Aldridge Pite, LLP                          PO Box 2037
Kansas City, MO 64116-3424                     374 East 720 South                          Warren, MI 48090-2037
                                               Orem, UT 84058-6342


Mountain America Credit Union                  Mr. Cooper                                  (p)NATIONSTAR MORTGAGE LLC
PO Box 2331                                    425 Walnut Street                           PO BOX 619096
Sandy, UT 84091-2331                           Cincinnati, OH 45202-3956                   DALLAS TX 75261-9096



Nationstar Mortgage LLC                        Net Credit                                  NetCredit
c/o ALDRIDGE PITE, LLP                         175 W Jackson Blvd Suite 1000               175 W Jackson Blvd
8880 Rio San Diego Drive, Suite 725            Chicago, IL 60604-2863                      Suite 600
San Diego, CA 92108-1619                                                                   Chicago, IL 60604-2948


Steven M. Rogers                               (p)MARK C ROSE                              Brian M. Rothschild
Rogers & Russell                               2180 SOUTH 1300 EAST                        Parsons Behle & Latimer
170 S. Main St.                                SUITE 400                                   201 S. Main St. Suite 1800
Pleasant Grove, UT 84062-2631                  SALT LAKE CITY UT 84106-7814                Salt Lake City, UT 84111-2218
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Santander Consumer USA, Inc.                           SpeedyDocument
                                                              #89             Page 6 of 6                   Speedy/Rapid Cash
d/b/a Chrysler Capital                                 P.O. Box 782260                                      15 Bull Street
1601 Elm St., Suite 800                                Wichita, KS 67278-2260                               Suite 200
Dallas, TX 75201-7260                                                                                       Savannah, GA 31401-2686


Spot Loan                                              (p)US BANK                                           United States Trustee
1110 Hospital Rd.                                      PO BOX 5229                                          Washington Federal Bank Bldg.
Belcourt, ND 58316                                     CINCINNATI OH 45201-5229                             405 South Main Street
                                                                                                            Suite 300
                                                                                                            Salt Lake City, UT 84111-3402

Utah State Tax Commission                              Utah State Tax Commission                            Aaron M. Waite
Attn Bankruptcy Unit                                   BK Unit                                              Office of Utah Attorney General
210 North 1950 West                                    210 North 1950 West                                  160 E 300 S, Fifth Floor
Salt Lake City, UT 84134-9000                          Salt Lake City, UT 84134-9000                        Salt Lake City, UT 84114


Wilshire Consumer Credit
4751 Wilshire Blvd, Suite 100
Los Angeles, CA 90010-3847




                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Nationstar Mortgage LLC                                Mark C. Rose                                         U.S. Bank National Association
Attn: Bankruptcy Dept.                                 McKay, Burton & Thurman, P.C.                        Bankruptcy Department
PO Box 619096                                          2180 South 1300 East, Suite 400                      PO Box 108
Dallas TX 752619741                                    Salt Lake City, UT 84106                             Saint Louis MO 63166-0108


(d)US Bank
PO Box 108
Saint Louis, MO 63166-0108




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Glass America Midwest, LLC                          (u)Nationstar Mortgage LLC                           End of Label Matrix
                                                                                                            Mailable recipients    39
                                                                                                            Bypassed recipients     2
                                                                                                            Total                  41
